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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF RHODE ISLAND


 STATE OF NEW YORK, et al.,

       Plaintiffs,
       v.
                                              Civil Action No. 1:25-cv-39 (JJM)
 DONALD TRUMP, IN HIS OFFICIAL
 CAPACITY AS PRESIDENT OF THE
 UNITED STATES, et al.,

                     Defendants.


       DEFENDANTS’ UNOPPOSED MOTION TO STAY APRIL 21, 2025,
         DEADLINE TO RESPOND TO PLAINTIFFS’ COMPLAINT

       Under the Federal Rules of Civil Procedure, Defendants’ response to

 Plaintiffs’ complaint is due April 21, 2025. Defendants respectfully request the

 Court stay the response deadline until the First Circuit resolves the pending appeal

 of this Court’s preliminary injunction, at which point the parties shall jointly

 propose a new schedule. The First Circuit is likely to rule on Plaintiffs’ likelihood of

 success on the merits of their claims and provide guidance on the governing legal

 framework in relatively short order. The interests of judicial economy support a

 stay of the response deadline to allow the parties and this Court to have the benefit

 of whatever ruling the First Circuit issues. Moreover, as the First Circuit has

 denied Defendant-Appellants’ request to stay the preliminary injunction, Plaintiffs

 continue to have the benefit of this Court’s order such that they are no longer

 threatened by the harms they have alleged. The parties have conferred, and

 Plaintiffs do not oppose this motion.
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                                      DISCUSSION

       On February 21, 2025, all Defendants were served with the Complaint in this

 case, see Aff. Service, ECF No. 158. Under Rule 12(a)(2), the Government is

 provided 60 days to respond to the Complaint. Fed. R. Civ. Pro. 12(a)(2). As a

 result, the Government’s response to the Complaint is currently due on April 21,

 2025. See Aff. Service, ECF No. 158. The Court issued a preliminary injunction on

 March 6, 2025, see ECF No. 161, enjoining the Government from pausing funding to

 Plaintiffs or otherwise giving effect to OMB Memorandum M-25-13. Defendants

 appealed this injunction to the First Circuit on March 10, 2025, see Notice of

 Appeal, ECF No. 162, and asked the Court of Appeals to stay the injunction, which

 it declined to do, see New York v. Trump, No. 25-1236, 2025 WL 914788 (1st Cir.

 Mar. 26, 2025). The First Circuit’s consideration of Defendants’ appeal of the

 preliminary injunction remains ongoing.

       “The District Court has broad discretion to stay proceedings as an incident to

 its power to control its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997); see

 also Microfinancial, Inc. v. Premier Holidays Int’l, Inc., 385 F.3d 72, 77 (1st Cir.

 2004) (“It is apodictic that federal courts possess the inherent power to stay

 proceedings for prudential reasons.”). However, “there must be good cause for [a

 stay’s] issuance; [it] must be reasonable in duration; and the court must ensure that

 competing equities are weighed and balanced.” Marquis v. FDIC, 965 F.2d 1148,

 1155 (1st Cir. 1992).
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       One good cause for a stay is to respect “the general principle” that federal

 district courts should “avoid duplicative litigation.” Colorado River Water

 Conservation Dist. v. United States, 424 U.S. 800, 817 (1976); see also Marquis 965

 F.2d at 1154 (district courts have discretion to stay proceedings in the interest of

 “efficacious management of court dockets”). Additionally, courts frequently grant

 stays when there are ongoing “independent proceedings which bear upon the case,”

 because a stay is most “efficient for [the court’s] own docket and the fairest course

 for the parties[.]” Leyva v. Certified Grocers of California, Ltd., 593 F.2d 857, 863

 (9th Cir. 1979); cf. Microfinancial, 385 F.3d at 77 (1st Cir. 2004) (“The pendency of a

 parallel or related criminal proceeding can constitute [ ] a reason [to grant a stay.]”).

       The Court’s preliminary injunction is now on appeal before the First Circuit.

 Staying Defendants’ response deadline pending resolution of that appeal makes

 eminent sense because it would support judicial economy and would allow the

 parties here to address the relevant issues with the benefit of any ruling from the

 First Circuit. Given that many (if not all) of the critical legal issues presented in

 Plaintiffs’ complaint are now before the First Circuit, it makes little sense for this

 Court (and the parties) to expend the resources necessary for a full presentation of

 those issues at this time. Because the preliminary injunction standard will require

 the First Circuit to consider whether Plaintiffs are “likely to succeed on the merits,”

 Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008), it would be far more

 efficient for the parties to await a decision from the First Circuit, at which point

 most (if not all) of the legal issues may then have definitive resolution and further
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 briefing and consideration of any remaining legal issues will be better informed by

 having the benefit of the First Circuit’s analysis. Accordingly, a stay would serve

 “efficacious management of [the Court’s] docket[],” Marquis 965 F.2d at 1154, and

 simplify the issues and questions of law the Court will need to confront.

       The pending appeal is scheduled to proceed expeditiously, which will ensure

 that the length of the stay is reasonable. The Government’s opening brief and

 appendix are due in less than a month on May 13, 2025, and Plaintiff-Appellees’

 response brief is due 30 days later on June 12, 2025. See New York v. Trump, No.

 25-1236, Doc. 00118268206 (April 3, 2025). Moreover, the Government’s request in

 the First Circuit for a stay of the preliminary injunction was denied, see New York v.

 Trump, No. 25-1236, 2025 WL 914788 (1st Cir. Mar. 26, 2025), and as a result,

 Plaintiffs are not threatened by any imminent, irreparable harm. Thus, all three

 factors—good cause, reasonable duration, and fairness to the parties—warrant a

 stay. See Marquis, 965 F.2d at 1155.

                                     CONCLUSION

       The Government respectfully requests a stay of its deadline to respond to the

 Complaint until the First Circuit resolves the appeal of the Court’s preliminary

 injunction, at which point the parties shall jointly propose a new schedule.
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  Dated: April 17, 2025            Respectfully Submitted,

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                                CERTIFICATION OF SERVICE

        I hereby certify that on April 17, 2025, I electronically filed the within
 Certification with the Clerk of the United States District Court for the District of
 Rhode Island using the CM/ECF System, thereby serving it on all registered users in
 accordance with Federal Rule of Civil Procedure 5(b)(2)(E) and Local Rule Gen 305.


                                               /s/ Eitan R. Sirkovich
                                               EITAN R. SIRKOVICH
